                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 WESTERN DIVISION

ROBERT L. MARTIN                                                                         PLAINTIFF

v.                                                     CIVIL ACTION NO. 5:18-cv-73-DCB-MTP

IBM CORPORATE HEADQUARTERS, ET AL.                                                   DEFENDANTS

                                               ORDER

        THIS MATTER is before the Court on Plaintiff’s correspondence [4], which the Court

construes as a motion for an extension of time to serve process. On July 5, 2018, Plaintiff filed

this action, but failed to serve the Defendants within ninety days as required by Fed. R. Civ. P.

4(m). Accordingly, on October 11, 2018, the Court entered an Order [3], directing Plaintiff to

serve Defendants on or before November 12, 2018. The Court warned Plaintiff that this action

could be dismissed if he did not complete service by that date.

        Plaintiff failed to serve any Defendant by November 12, 2018. Instead, on November 27,

2018, Plaintiff filed the letter [4] at issue.1 Plaintiff states that additional time is needed because

he has not retained an attorney. The Court does not consider this good cause for an extension,

and Plaintiff must serve Defendants whether or not he is represented by counsel. Nevertheless,

the Court will grant Plaintiff a final brief extension of time to serve process.

        IT IS, THEREFORE, ORDERED that:

        1. On or before December 14, 2018, Plaintiff must properly serve Defendants and must
           file the proof of service by the server’s affidavit pursuant to Rule 4(l).




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  Along with the letter, Plaintiff filed a document which he entitled a “motion.” However,
Plaintiff did not sign the “motion,” but placed the undersigned’s electronic signature on the
document. Plaintiff shall not affix the undersigned’s signature or that of any Judge of this Court
to any document or future filing.
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2. If service is not perfected and proof thereof filed with the Court by December 14,
   2018, the case may be dismissed without prejudice pursuant to Rule 4(m) and without
   further notice.

SO ORDERED this the 29th day of November, 2018.

                                   s/Michael T. Parker
                                   UNITED STATES MAGISTRATE JUDGE




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